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 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                        SANTA ANA DIVISION
11

12 In re                                                   Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                     Chapter 7

14                     Debtor.                             EVIDENTIARY OBJECTIONS TO
                                                           DECLARATION OF JAMIE LYNN
15                                                         GALLIAN IN SUPPORT OF
                                                           OPPOSITION TO APPLICATION OF
16                                                         THE CHAPTER 7 TRUSTEE TO
                                                           EMPLOY REAL ESTATE BROKER
17                                                         COLDWELL BANKER REALTY AND
                                                           AGENTS WILLIAM FRIEDMAN AND
18                                                         GREG BINGHAM PURSUANT TO
                                                           11 U.S.C. §§ 327 AND 328
19
                                                           Date:    September 13, 2022
20                                                         Time:    11:00 a.m.
                                                           Place:   Courtroom 5C
21                                                                  411 W. Fourth Street
                                                                    Santa Ana, California 92701
22

23            Jeffrey I. Golden, the Chapter 7 Trustee for the bankruptcy estate of Jamie Lynn Gallian
24 (the “Debtor”), hereby objects to the Declaration of Jamie Lynn Gallian filed in support of the

25 Opposition to Application of the Chapter 7 Trustee to Employ Real Estate Broker Coldwell Banker

26 Realty and Agents William Friedman and Greg Bingham pursuant to 11 U.S.C. §§ 327 and 328

27 (docket no. 208), filed by Debtor, as follows:

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 1    Statement and Exhibit:                             Objections:              Sustained or
                                                                                  Overruled
 2
      “The Chapter 7 Trustee, Jeffrey Golden, along Irrelevant, Fed. R.           Sustained _____
 3    with Interested Parties Huntington Beach         Evid. 401, 402
      Gables Homeowners Association joined in the                                 Overruled _____
 4    Motion Objecting to Debtors Homeowners
      Exemption. No claims were raised in the MOT
 5    that the property in question is not the Debtors
      personal residence, since November 2018.
 6    Debtor and her family still live in the home.”
 7    Declaration at page 16.
 8    “If the Court had deemed Debtors’ homestead        Irrelevant, Fed. R.      Sustained _____
      exemption to be valid, then the secondary plan     Evid. 401, 402
 9    by interested parties Houser Bros Co, and the                               Overruled _____
      joinders back up plan was sought to limit her      Best Evidence Rule
10    homeowners exemption to the statutory cap of       (Document Speaks For
      $170,675 under § 522(p)(1). Debtor resides in      Itself), Fed. R. Evid.
11    and purchased the property in question on          1002
      November 1, 2018 and 11 U.S.C. 522
12    (p)(2)(b) is applicable to the proceeds from       Legal Conclusion
      her sale of her previous home on October 31
13    2018, used to purchase Debtors 2014                Speculative
      Manufactured Home.”
14                                                       Argument
      Declaration at page 16.
15
      “Interested parties Houser Bros Co dba             Irrelevant, Fed. R.      Sustained _____
16    Rancho Del Rey, The Huntington Beach               Evid. 401, 402
      Gables HOA and former Gables HOA                                            Overruled _____
17    attorney Janine Jasso, argued that Debtor          Best Evidence Rule
      acquired an interest in the 2014 Skyline           (Document Speaks For
18    Manufactured Home property within the              Itself), Fed. R. Evid.
      meaning of §522(p)(1) because the LLC by           1002
19    releasing signature on the Certificate of Title,
      transferred registration back to Debtor, on
20    February 25, 2021, for no consideration,
      during the 1215– day period preceding the
21    date of Debtor’s Chapter 7 Petition on July 9,
      2021, DOC 1.”
22
      Declaration at page 16-17.
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 1    “Debtor asserts she qualified for the             Irrelevant, Fed. R.      Sustained _____
      homeowners exemption because the home is          Evid. 401, 402
 2    where debtor has lived for several years and                               Overruled _____
      currently resides since acquiring the property    Improper Lay Opinion,
 3    on November 1, 2018, with the funds from the      Fed. R. Evid., 701
      home she sold October 31, 2018, under the
 4    same Unexpired 80-year Ground Leasehold,          Legal Conclusion
      burdening Parcel 1 & Parcel 2, APN 178-011-
 5    01, recorded December 6, 1979. in the             Argument
      Records of the Clerk Recorder, Orange
 6    County, Document No(s). 8346 & 8347.”
 7    Declaration at page 17.
 8    “Debtor also asserted that the limitation under   Irrelevant, Fed. R.      Sustained _____
      § 522(p)(1) was not triggered since she           Evid. 401, 402
 9    retained a beneficial and equitable interest in                            Overruled _____
      the Unit and the Ground Leasehold real            Improper Lay Opinion,
10    property at all times despite transfer of the     Fed. R. Evid., 701
      HCD Certificate of Title Registration of the
11    Personal Property LBM1081, a 2014                 Legal Conclusion
      Manufactured Home to and from the LLC
12    with CA Department of Housing and
      Community Development due to negative
13    effects put upon debtor by Houser Bros Co
      dba Rancho Del Rey Mobilehome Estates.”
14
      Declaration at page 17.
15
      “On July 21, 2022, the bankruptcy court           Irrelevant, Fed. R.      Sustained _____
16    posted a TR, sustained Interested party Houser    Evid. 401, 402
      Bros Co dba Rancho Del Rey Mobilehome                                      Overruled _____
17    Estates MOT Objecting to Debtors                  Best Evidence Rule
      Homeowenrs Exemption, with joinders The           (Document Speaks For
18    Huntington Beach Gables Homeowners                Itself), Fed. R. Evid.
      Association and former HOA attorney Janine        1002
19    Jasso.
      The Chapter 7 Trustee, Jeffrey Golden joined
20    the objection to Debtors Homestead
      Exemption on June 30, 2022, DOC 128,
21    without specific supporting argument.”
22    Declaration at page 17.
23

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 1    “Debtor timely moved for Reconsideration set    Irrelevant, Fed. R.         Sustained _____
      on calendar, August 18, 2022, DOC 157,          Evid. 401, 402
 2    continued to September 22, 2022, upon an                                    Overruled _____
      Agreed Signed Stipulation for Debtor to Dismiss
 3    Her Appeals without prejudice, at the BAP and
      District Court, August 18, 2022, on the Record
 4    with Honorable Erithe A. Smith, finalized and
      signed Stipulation between Houser Bros Co
 5    attorney D. Edward Hays and Debtor, so
      Honorable Erithe A. Smith can consider
 6    Debtor’s Motion for Reconsideration on the
      Merits aftert the Stipulated and Continued
 7    hearing August 18, 2022, to September 22,
      2022.”
 8
      Declaration at page 17 - 18.
 9
      Debtor recorded a Declared Homestead pre-          Irrelevant, Fed. R.      Sustained _____
10    petition, with the Office of the Clerk             Evid. 401, 402
      Recorder, Co. of Orange, DOC 74.”                                           Overruled _____
11
      Declaration at page 18.
12
      ““The Debtor claimed a homestead exemption         Irrelevant, Fed. R.      Sustained _____
13    in the Property” (Trustee Appl. Pg. 2, Line 21)    Evid. 401, 402
      in her FIRST AMENDMENT Amended                                              Overruled _____
14    Schedule C, DOC 16. The Chapter 7 Trustee’s        Best Evidence Rule
      Application seeks to sell the Debtor's personal    (Document Speaks For
15    residence (Trustee Appl, pg. 2 line 19) she has    Itself), Fed. R. Evid.
      lived in since November 1, 2018, DOC 1, and        1002
16    use the proceeds to “pay claims of creditors
      and expenses of administration” (Trustee
17    Appl. Pg. 2, Line 28) and a dividend, DOC
      142, to the Interested Parties and their
18    unsecured claims namely, The Huntington
      Beach Gables Homeowners Association and
19    Interested Party Houser Bros Co dba Rancho
      Del Rey Mobilehome Estates against “the
20    equity in the Property upon further court
      order” (“Trustee Appl. Pg. 2, Line 18) or
21    portion of the sale proceeds to Debtor's estate,
      assuming there is anything left.”
22
      Declaration at page 18.
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 1    “Debtor believes the sale of the Debtor’s        Irrelevant, Fed. R.      Sustained _____
      personal residence she resides in and has for    Evid. 401, 402
 2    years, violate the core principles of                                     Overruled _____
      bankruptcy law, and the Debtor prays the         Lack of Personal
 3    court deny Trustee’s Application DOC 162,        Knowledge, Fed. R.
      and a looming subsequent MOT to Sell and         Evid, 602
 4    the proposed transaction to sell debtors home
      to pay.... “...expenses of administration.”      Improper Lay Opinion,
 5    (Trustee Appl. Pg. 2 Line 28.)”                  Fed. R. Evid., 701
 6    Declaration at page 19.                          Legal Conclusion
 7                                                     Argument
 8

 9    “A Chapter 7 trustee only may seek to sell a     Irrelevant, Fed. R.      Sustained _____
      debtor's real property when there is available   Evid. 401, 402
10    equity over any Perfected Claim on the face of                            Overruled _____
      California Certificate of Title secured by the   Lack of Personal
11    property and any exemptions available to the     Knowledge, Fed. R.
      debtor.”                                         Evid, 602
12
      Declaration at page 19.                          Improper Lay Opinion,
13                                                     Fed. R. Evid., 701
14                                                     Legal Conclusion
15                                                     Argument
16    “The debtor is keenly aware of the bankruptcy    Irrelevant, Fed. R.      Sustained _____
      court TR on 7/21/2022, that the Property [is     Evid. 401, 402
17    not] part of the bankruptcy estate of Debtor                              Overruled _____
      said Property having been registered in the      Best Evidence Rule
18    name of J-Sandcastle Co LLC as of the            (Document Speaks For
      petition date of July 9, 2021. TR on             Itself), Fed. R. Evid.
19    7/21/2022,”                                      1002
20    Declaration at page 19.                          Legal Conclusion
21                                                     Argument
22

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 1    “Bankruptcy trustees (like executing judgment     Irrelevant, Fed. R.      Sustained _____
      creditors outside bankruptcy) ordinarily must     Evid. 401, 402
 2    satisfy liens secured by the property and pay a                            Overruled _____
      debtor's exemption prior to reaching funds        Lack of Personal
 3    available for paying their administrative         Knowledge, Fed. R.
      claims and distribution to the rest of the        Evid, 602
 4    creditor body. See DeGiacomo v. Traverse (In
      re Traverse), 753 F.3d 19, 29 (1st Cir. 2014)     Improper Lay Opinion,
 5    (“Bankruptcy courts have defined the equity       Fed. R. Evid., 701
      that justifies a sale of property, consistently
 6    and explicitly, in one way: the value             Legal Conclusion
      remaining for unsecured creditors above any
 7    secured claims and the debtor's exemption.”       Argument
      (citations omitted)).”
 8
      Declaration at page 19.
 9
      “Using the Debtor’s estimate for the value of     Irrelevant, Fed. R.      Sustained _____
10    the Debtor's home, DOC 1, there does not          Evid. 401, 402
      appear to be any equity in the property over                               Overruled _____
11    Perfected Face of the Certificate of Title.”      Legal Conclusion
12    Declaration at page 19.
13    “The Debtor scheduled the value of her            Irrelevant, Fed. R.      Sustained _____
      residence at 16222 Monterey Ln. Unit 376,         Evid. 401, 402
14    Huntington Beach, CA 92649, in Huntington                                  Overruled _____
      Beach, California at $235,000.00 based on the
15    last 24 months of recorded comparable home
      sales within the Rancho Del Rey Mobilehome
16    Park and within Skandia Mobilehome Park.
      The Orange County Tax Assessor listed the
17    2021-2022 tax value at $79,000.00 with a $-
      7,000.00 homeowners exemption in Orange
18    County, …
19    Declaration at page 19 – 20.
20    “The Debtor disclosed in her DOC 1, a             Irrelevant, Fed. R.      Sustained _____
      11/16/2018, Security Agreement &                  Evid. 401, 402
21    Promissory Note with a balance of                                          Overruled _____
      $225,000.00 at 5.5% interest per year,            Best Evidence Rule
22    Manufactured-Home Transaction UCC                 (Document Speaks For
      Financing Statement Filing Date 01/14/2019        Itself), Fed. R. Evid.
23    09:10a.m., Document Number 76027940003,           1002
      Filing Number 19-7691916827. The Trustee’s
24    Application does not disclose whether the
      Trustee verified a payoff.”
25
      Declaration at page 20.
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 1    “This would usually be the end of the analysis     Irrelevant, Fed. R.     Sustained _____
      for a Chapter 7 trustee, and any Application to    Evid. 401, 402
 2    Employ and any subsequent Motion to Sell the                               Overruled _____
      Debtors home would end up in front of the          Lack of Personal
 3    Court.”                                            Knowledge, Fed. R.
                                                         Evid, 602
 4    Declaration at page 20.
                                                         Improper Lay Opinion,
 5                                                       Fed. R. Evid., 701
 6                                                       Legal Conclusion
 7                                                       Argument
 8    “Even using the Trustee's numbers in his           Irrelevant, Fed. R.     Sustained _____
      Application and without considering the            Evid. 401, 402
 9    Debtor's homestead exemption, MOT for                                      Overruled _____
      Reconsideration set on September 22, 2022,         Lack of Personal
10    there does not appear to be any equity             Knowledge, Fed. R.
      available for the Debtor's estate, as the total    Evid, 602
11    amount subject to liens ($225,000.00) +
      (approximately $20,000, in interest) exceeds       Improper Lay Opinion,
12    the value of the property as estimated by the      Fed. R. Evid., 701
      Trustee's realtor and debtors homestead
13    exemption and any potential final sales price.”    Legal Conclusion
14    Declaration at page 20.                            Argument
15    “Since there is no equity available for the        Irrelevant, Fed. R.     Sustained _____
      estate, the Trustee should not normally pursue     Evid. 401, 402
16    a sale. If a Chapter 7 Trustee wanted to sell                              Overruled _____
      the property despite the lack of equity, the       Lack of Personal
17    court would not let him, as courts do not allow    Knowledge, Fed. R.
      trustees to administer bankruptcy estates          Evid, 602
18    solely for the benefit of secured creditors. See
      Joseph v. Cooper, 539 B.R. 489, 497                Improper Lay Opinion,
19    (W.D.N.C. 2015) (“In order to authorize the        Fed. R. Evid., 701
      sale, the Bankruptcy Court must determine
20    whether such a sale would benefit the estate       Legal Conclusion
      after considering any encumbrances and the
21    debtors declared homestead filed prepetition.”     Argument
22    Declaration at page 20.
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 1    “A sale benefits the estate when the proceeds       Irrelevant, Fed. R.     Sustained _____
      generate equity that can be distributed among       Evid. 401, 402
 2    secured creditors.” (citing Reeves v.                                       Overruled _____
      Calloway, 546 F. App'x 235, 241 (4th Cir.           Lack of Personal
 3    2013))); In re Fontana, Ch. 7 Case No. 14-          Knowledge, Fed. R.
      30773, 2015 Bankr. LEXIS 3771, at *4                Evid, 602
 4    (Bankr. W.D.N.C. Nov. 4, 2015) (“This result
      is consistent with the longstanding principle       Improper Lay Opinion,
 5    that Chapter 7 trustees are not to pursue claims    Fed. R. Evid., 701
      for individual creditors.” (citing In re Miller,
 6    197 B.R. 810, 814–15 (W.D.N.C. 1996))); In          Legal Conclusion
      re Marko, Ch. 7 Case No. 11-31287, 2014 WL
 7    948492, at *5 (Bankr. W.D.N.C. Mar. 11,             Argument
      2014)
 8    “The Bankruptcy Code generally contemplates
      that over encumbered property [not be] sold.”
 9    (citing 11 U.S.C. § 363(f)(2).”
10    Declaration at page 21.
11    “Since there does not appear to be any equity       Irrelevant, Fed. R.     Sustained _____
      in the Debtor's residence, the Trustee appears      Evid. 401, 402
12    to be attempting a different slight of hand and                             Overruled _____
      may be potentially successful in an attempt         Lack of Personal
13    invoking a Chapter 7 exception to the normal        Knowledge, Fed. R.
      order of distribution of sale proceeds as part of   Evid, 602
14    the justification for this Application and then a
      looming subsequent MOT for proposed Sale.”          Improper Lay Opinion,
15                                                        Fed. R. Evid., 701
      Declaration at page 21.
16                                                        Legal Conclusion
17                                                        Argument
18    “Section 724(b) of the Bankruptcy Code              Irrelevant, Fed. R.     Sustained _____
      allows Chapter 7 trustees to subordinate some       Evid. 401, 402
19    types of tax liens in order to pay particular                               Overruled _____
      priority claims. 11 U.S.C. § 724(b); COLLIER        Lack of Personal
20    ¶ 724.03. Debtor is not currently aware of any      Knowledge, Fed. R.
      tax liens by the IRS.”                              Evid, 602
21
      Declaration at page 21.                             Improper Lay Opinion,
22                                                        Fed. R. Evid., 701
23                                                        Legal Conclusion
24                                                        Argument
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 1    “This section of the U.S.C. is an unusual          Irrelevant, Fed. R.     Sustained _____
      provision in the Bankruptcy Code that allows a     Evid. 401, 402
 2    Chapter 7 trustee to administer encumbered                                 Overruled _____
      property for the benefit of certain priority       Lack of Personal
 3    claimants and includes an alternate distribution   Knowledge, Fed. R.
      scheme. See COLLIER ¶ 724.03[5], [7].”             Evid, 602
 4
      Declaration at page 21.                            Improper Lay Opinion,
 5                                                       Fed. R. Evid., 701
 6                                                       Legal Conclusion
 7                                                       Argument
 8    “Distributions pursuant to the alternate           Irrelevant, Fed. R.     Sustained _____
      distribution scheme begin as they would            Evid. 401, 402
 9    without § 724(b), by paying any liens senior to                            Overruled _____
      the tax lien that will be subordinated. §          Lack of Personal
10    724(b)(1).”                                        Knowledge, Fed. R.
                                                         Evid, 602
11    Declaration at page 21.
                                                         Improper Lay Opinion,
12                                                       Fed. R. Evid., 701
13                                                       Legal Conclusion
14                                                       Argument
15    “The alternate distributions begin at the next      Irrelevant, Fed. R.    Sustained _____
      step, as claimants holding certain types of         Evid. 401, 402
16    priority claims [substitute in] for the tax lien to                        Overruled _____
      the extent of the tax lien. § 724(b)(2).”           Lack of Personal
17                                                        Knowledge, Fed. R.
      Declaration at page 21.                             Evid, 602
18
                                                         Improper Lay Opinion,
19                                                       Fed. R. Evid., 701
20                                                       Legal Conclusion
21                                                       Argument
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 1    “Third, the tax lien is paid to the extent that it    Irrelevant, Fed. R.     Sustained _____
      exceeds the payments to priority creditors            Evid. 401, 402
 2    under § 724(b)(2). § 724(b)(3).                                               Overruled _____
      Next, any liens that are junior to the tax lien       Lack of Personal
 3    are paid. § 724(b)(4).”                               Knowledge, Fed. R.
                                                            Evid, 602
 4    Declaration at page 22.
                                                            Improper Lay Opinion,
 5                                                          Fed. R. Evid., 701
 6                                                          Legal Conclusion
 7                                                          Argument
 8    “To the extent that the subordinated tax lien         Irrelevant, Fed. R.     Sustained _____
      has not already been paid, it is satisfied after      Evid. 401, 402
 9    the junior liens. § 724(b)(5).                                                Overruled _____
      Finally, any remaining proceeds go to the             Lack of Personal
10    debtor's estate. § 724(b)(6).”                        Knowledge, Fed. R.
                                                            Evid, 602
11    Declaration at page 22.
                                                            Improper Lay Opinion,
12                                                          Fed. R. Evid., 701
13                                                          Legal Conclusion
14                                                          Argument
15    “Since there are [no tax liens] against the           Irrelevant, Fed. R.     Sustained _____
      Debtor's residence in this case, Trustee’s            Evid. 401, 402
16    potential undisclosed attempt [is not]                                        Overruled _____
      appropriate for subordination pursuant to §           Improper Lay Opinion,
17    724(b).”                                              Fed. R. Evid., 701
18    Declaration at page 22.                               Legal Conclusion
19                                                          Argument
20    “Since this Debtor does not owe any tax liens,        Irrelevant, Fed. R.     Sustained _____
      the [Trustee’s] slight of hand becomes the            Evid. 401, 402
21    [one significant potential exception], as                                     Overruled _____
      Debtor does not owe any of the types of               Improper Lay Opinion,
22    priority claims that can be paid pursuant to §        Fed. R. Evid., 701
      724(b). See § 724(b)(2) (listing, by reference
23    to 11 U.S.C. § 507, certain priority claims,          Legal Conclusion
      including domestic support obligations and
24    wages, salaries, or commissions owed, that            Argument
      can be paid ahead of the subordinated tax
25    claims).”
26    Declaration at page 22.
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 1    “The one type of priority claim that the            Irrelevant, Fed. R.     Sustained _____
      Trustee [would be] able to pay is [his own]         Evid. 401, 402
 2    [compensation], which would be entirely (or                                 Overruled _____
      at least primarily) related to the sale. See id.    Lack of Personal
 3    (including the administrative expenses of a         Knowledge, Fed. R.
      Chapter 7 trustee pursuant to § 507(a)(1)(C)        Evid, 602
 4    and 507(a)(2)).”
                                                          Improper Lay Opinion,
 5    Declaration at page 22.                             Fed. R. Evid., 701
 6                                                        Legal Conclusion
 7                                                        Argument
 8    “A corollary of the rule against allowing           Irrelevant, Fed. R.     Sustained _____
      trustees to administer estates with no available    Evid. 401, 402
 9    equity, and a problem for the Trustee here, is                              Overruled _____
      [not] to allow trustees to potentially dupe this    Lack of Personal
10    Court, and potentially administer this estate       Knowledge, Fed. R.
      for their own benefit. See In re Sunbum5            Evid, 602
11    Enters., LLC, Ch. 7 Case No. 09-14839, Adv.
      Nos. 10-1268, 10-1269, 2011 WL 4529648, at          Improper Lay Opinion,
12    *9 (M.D. Fla. Sept. 30, 2011) (“[T]he               Fed. R. Evid., 701
      recognized purpose of § 554(b) is to prevent
13    trustees from unnecessarily administering           Legal Conclusion
      assets that bring no value to the estate and to
14    thwart the practice of trustees increasing their    Argument
      own commissions by not abandoning
15    valueless property on their own.” (citing In re
      Paolella, 79 B.R. 607, 609 (Bankr. E.D. Pa.
16    1987))); COLLIER ¶ 704.02[1] (“[T]he
      legislative history of the Code made clear
17    Congress's displeasure with prior practices
      under which trustees’ administration of
18    ‘nominal asset cases’ benefited only the
      trustees themselves.” (citing H.R. REP. No.
19    595, 95th Cong., 1st Sess. 93 (1977))). But see
      In re Reeves, Ch. 7 Case No. 10-2562-8, 2011
20    WL 841238, at *3 (Bankr. E.D.N.C. Mar. 8,
      2011), aff'd sub nom. Reeves v. Callaway, No.
21    11-CV-280, 2012 WL 10180780 (E.D.N.C.
      Aug. 14, 2012), aff'd 546 F. App'x 235 (4th
22    Cir. 2013) (unpublished per curiam)
      (“[T]rustees frequently liquidate fully secured
23    property for the benefit of the secured creditor
      where the trustee is authorized to recover his
24    costs of disposal of the property pursuant to §
      506(c).”).”
25
      Declaration at page 22 – 23.
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 1    “The Application of the Trustee, and any           Irrelevant, Fed. R.     Sustained _____
      subsequent sale motion, however, I believe         Evid. 401, 402
 2    would fail to explain or disclose any                                      Overruled _____
      negotiated “carve outs” with the [Interested       Lack of Personal
 3    Party] to allow undisclosed % of the sale          Knowledge, Fed. R.
      proceeds that would normally be paid on            Evid, 602
 4    perfected liens to instead go to unsecured
      claims, presumably to increase the likelihood      Improper Lay Opinion,
 5    that the court would approve the subsequent        Fed. R. Evid., 701
      MOT for sale, and said Motion proposes a
 6    modification of the § 724(b) distribution          Legal Conclusion
      scheme.”
 7                                                       Argument
      Declaration at page 23.
 8
      “Under the Trustee's proposed modified §           Irrelevant, Fed. R.     Sustained _____
 9    724(b) distribution scheme, the sale proceeds      Evid. 401, 402
      should first satisfy the perfected 1/14/2019                               Overruled _____
10    lien on the residence.                             Improper Lay Opinion,
      The Trustee fails to disclose proposed             Fed. R. Evid., 701
11    payment amount $____ in Trustee’s
      administrative expenses, his commission, the       Legal Conclusion
12    fees and expenses of his professionals, realtor
      and/or auctioneer fees and expenses, and           Argument
13    closing costs.”
14    Declaration at page 23.
15    “The Trustee fails to disclose what __% of the     Irrelevant, Fed. R.     Sustained _____
      sale would pay the liens held by the Interested    Evid. 401, 402
16    Parties.”                                                                  Overruled _____
                                                         Argument
17    Declaration at page 23.
18    “The undisclosed potential __% carve out of        Irrelevant, Fed. R.     Sustained _____
      the Interested Parties liens would be used to      Evid. 401, 402
19    pay priority unsecured claims in full with the                             Overruled _____
      remainder disbursed pro rata among the             Lack of Personal
20    general unsecured creditors.”                      Knowledge, Fed. R.
                                                         Evid, 602
21    Declaration at page 23.
                                                         Improper Lay Opinion,
22                                                       Fed. R. Evid., 701
23                                                       Legal Conclusion
24                                                       Argument
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 1    “Due to the amounts of the Huntington Beach           Irrelevant, Fed. R.     Sustained _____
      Gables HOA creditor claim, at best an                 Evid. 401, 402
 2    Interested Party, (Money Judgments recorded                                   Overruled _____
      in 2019 of over $561,000.00) and the                  Improper Lay Opinion,
 3    HOUSER BROS CO unsecured potential                    Fed. R. Evid., 701
      claim ($50,000.00) would get the vast
 4    majority of the funds distributed to the other        Legal Conclusion
      unsecured claimants would also receive some
 5    [unknown] dividend on their claims.”                  Argument
 6    Declaration at page 23 – 24.
 7    “Anything left after the modified § 724(b)            Irrelevant, Fed. R.     Sustained _____
      distributions would go to the Debtor's estate.        Evid. 401, 402
 8    Distributions pursuant to § 724(b), both as                                   Overruled _____
      codified and as modified by the Trustee, raise        Lack of Personal
 9    a question about the payment of a debtor's (or        Knowledge, Fed. R.
      the Debtor's) homestead exemption, as the             Evid, 602
10    statute [does not] mention exemptions at all.
      See In re Christensen, 561 B.R. 195, 213              Improper Lay Opinion,
11    (Bankr. D. Utah 2016), aff'd sub nom. Jubber          Fed. R. Evid., 701
      v. Bird (In re Bird), 577 B.R. 365 (B.A.P. 10th
12    Cir. 2017)                                            Legal Conclusion
      The Court may take note that there is an
13    apparent tension between § 724 and the clear          Argument
      intent of § 522, which allows debtors to
14    exempt property to assist in their fresh start.”);
      COLLIER ¶ 724.03[3]
15
      “If this DEBTOR’S HYPOTHETICAL tax
16    lien in question is an IRS lien that encumbers
      the debtor's state law homestead, applying
17    section 724(b) is not straightforward.”).
      However, as previously stated, Debtor does
18    not have any IRS tax liens.”
19    Declaration at page 24.
20    “However, Debtor testified under oath at the          Irrelevant, Fed. R.     Sustained _____
      first Meeting of Creditors with 341(a), held on       Evid. 401, 402
21    August 18, 2021, DOC 5, that Debtors July 9,                                  Overruled _____
      2021, DOC 1, Chapter 7 Petition [was not]
22    accurate and debtor would be filing Amended
      Schedules.
23    Debtors FIRST AMENDMENT Amended
      Schedule A/B, FIRST AMENDMENT
24    Amended Schedule C, was filed September
      22, 2021, DOC 16.”
25
      Declaration at page 24.
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 1    “Prior to the Houser Bros MOT objecting to          Irrelevant, Fed. R.     Sustained _____
      debtors homestead exemption hearing July 21,        Evid. 401, 402
 2    2022, brought by Interested Party Houser Bros                               Overruled _____
      Co dba Rancho Del Rey Mobilehome Estates,
 3    who has no recorded judgments, unpaid
      claims or liens against debtor), Motion
 4    Objecting to Debtor’s Claimed Homestead
      DOC 95, (Debtor’s filed and Recorded pre-
 5    petition Declared Homestead DOC 74)”
 6    Declaration at page 24.
 7    “Debtor believes the bankruptcy court was           Irrelevant, Fed. R.     Sustained _____
      under the impression that the Chapter 7             Evid. 401, 402
 8    Trustee intended for his June 30, 2022,                                     Overruled _____
      joinder, DOC 128, to play a role in allowing        Lack of Personal
 9    the sale without payment of the Debtor's            Knowledge, Fed. R.
      homestead exemption.                                Evid, 602
10    It appears the Trustee may have taken the
      position that the Trustee’s Joinder DOC 128         Improper Lay Opinion,
11    was only relevant to any net proceeds to the        Fed. R. Evid., 701
      Debtor's estate after the payment of claims
12    pursuant to Trustee’s potentially undisclosed       Legal Conclusion
      modification of the § 724(b) distribution
13    scheme.”                                            Argument
14    Declaration at page 25.
15    “Since the Trustee did not expect a great deal    Irrelevant, Fed. R.       Sustained _____
      of net proceeds to go to the Debtor's estate, the Evid. 401, 402
16    Trustee downplayed to Debtor the importance                                 Overruled _____
      of the Joinder and to the Hon. Erithe A.          Argument
17    Smith.”
                                                        Speculative
18    Declaration at page 25.
19    “The Trustee’s Joinder DOC 128, did not             Irrelevant, Fed. R.     Sustained _____
      argue points and despite the lack of explicit       Evid. 401, 402
20    statutory guidance, the Trustee's position                                  Overruled _____
      appeared to be silent, in that distributions        Improper Lay Opinion,
21    pursuant to § 724(b), even as modified by a         Fed. R. Evid., 701
      Trustee to pay general unsecured creditors in
22    addition to (and, other than his own expenses,      Legal Conclusion
      instead of) the priority claimants that § 724(b)
23    normally benefits, [are not] subject to the         Argument
      Debtor's homestead exemption.”
24
      Declaration at page 25.
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 1    “Since California opted out of the federal          Irrelevant, Fed. R.     Sustained _____
      exemptions in the Bankruptcy Code, state law        Evid. 401, 402
 2    generally controls the analysis of exemptions.                              Overruled _____
      Under California law, a debtor who properly         Lack of Personal
 3    records her Article 5 homestead declaration         Knowledge, Fed. R.
      while residing at the subject property, is          Evid, 602
 4    entitled to her declared homestead and the
      additional benefits debtor is also automatically    Improper Lay Opinion,
 5    entitled to of the Article 4 automatic              Fed. R. Evid., 701
      homestead exemption and its protections
 6    against a forced sale. In re Kelley, 9th            Legal Conclusion
      Cir.BAP (Cal.)2003, 300 B.R. 11.
 7    There is a long-standing precedent in               Argument
      California of construing exemptions liberally.
 8    In re Rolland, Bkrtcy.C.D.Cal.2004, 317 B.R.
      402”
 9
      Declaration at page 25.
10
      “(“The North Carolina Supreme Court has             Irrelevant, Fed. R.     Sustained _____
11    cautioned that ‘provisions which restrict a         Evid. 401, 402
      debtor's access to her exemptions should be                                 Overruled _____
12    construed narrowly.’                                Lack of Personal
      Thus, debtors have long been ‘allowed a great       Knowledge, Fed. R.
13    deal of flexibility in claiming and maintaining     Evid, 602
      their exemptions’ under the state's law.”
14    (quoting Household Fin. Corp. v. Ellis, 107         Improper Lay Opinion,
      N.C. App. 262, 266 (1992), aff'd 333 N.C. 785       Fed. R. Evid., 701
15    (1993))).”
                                                          Legal Conclusion
16    Declaration at page 25.
                                                          Argument
17
      “Given the importance of the California             Irrelevant, Fed. R.     Sustained _____
18    homestead exemption in providing shelter to         Evid. 401, 402
      debtors and their families, see Cook, 2003 WL                               Overruled _____
19    21790296, at *2 (“The language of the               Lack of Personal
      California homestead exemption statute              Knowledge, Fed. R.
20    suggests that its purpose is to secure debtors      Evid, 602
      and their families the shelter of a
21    homestead.”), it is not surprising that it “is a    Improper Lay Opinion,
      favorite of the law and will be sustained           Fed. R. Evid., 701
22    whenever possible,” In re Bryant, Ch. 7 Case
      No. 94-10476, slip op. at 4 (Bankr. W.D.N.C.        Legal Conclusion
23    Feb. 2, 1995) (citing Pence v. Price, 211 N.C.
      707 (1937)).”                                       Argument
24
      Declaration at page 26.
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 1    “When other courts have considered the                Irrelevant, Fed. R.     Sustained _____
      interplay of carve outs, § 724(b), and/or             Evid. 401, 402
 2    exemptions, the results have not been                                         Overruled _____
      consistent, except in the inconsistency in            Lack of Personal
 3    results and rationales. Some courts conclude          Knowledge, Fed. R.
      that carve outs of a secured creditor's proceeds      Evid, 602
 4    for distributions to unsecured creditors do not
      implicate a debtor's exemptions. E.g., In re          Improper Lay Opinion,
 5    Stark, Ch. 7 Case No. 8-20-70948, 2020 WL             Fed. R. Evid., 701
      5778400, at *2 (Bankr. E.D.N.Y. Sept. 25,
 6    2020), rev'd Stark v. Pryor (In re Stark), No.        Legal Conclusion
      20-CV-4766 (E.D.N.Y. June 28, 2022)
 7    (“[T]he funds generated for the benefit of the        Argument
      estate by a chapter 7 trustee pursuant to
 8    potentially an [undisclosed] [carve-out]
      agreement potentially applicable in this case
 9    are not attributable to a debtor's equity interest
      in a homestead, or are they [not] attributable
10    to the trustee's exercise of his powers to
      negotiate with the Certificate of Title
11    Perfected Holder, of the 30-year Security
      Interest and Promissory Note perfected on the
12    face of the Department of Housing &
      Community Development Certificate of Title
13    to gain some benefit for the estate.”).”
14    Declaration at page 26.
15    “In re Bunn-Rodemann, 491 B.R. 132, 136               Irrelevant, Fed. R.     Sustained _____
      (Bankr. E.D. Cal. 2013) (“To the extent that a        Evid. 401, 402
16    creditor elects to pay a portion of the sales                                 Overruled _____
      proceeds subject to its lien as an ‘investment        Lack of Personal
17    payment’ for the bankruptcy estate to conduct         Knowledge, Fed. R.
      a short-sale of this Debtor’s Property, such          Evid, 602
18    monies of the creditor are not assets in which
      the Debtor may claim an exemption.”).”                Improper Lay Opinion,
19                                                          Fed. R. Evid., 701
      Declaration at page 26.
20                                                          Legal Conclusion
21                                                          Argument
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 1    “Similarly, some courts hold that distributions      Irrelevant, Fed. R.     Sustained _____
      pursuant to § 724(b) are not subject to a            Evid. 401, 402
 2    debtor's exemptions, e.g., Grochocinski v.                                   Overruled _____
      Laredo (In re Laredo), 334 B.R. 401, 415             Lack of Personal
 3    (Bankr. N.D. Ill. 2005) (holding that the IRS's      Knowledge, Fed. R.
      lien (pursuant to § 522(c)(2)(B)) and the            Evid, 602
 4    priority claims described in § 507(a)(1)–(7)
      (pursuant to § 724(b)) are superior to the           Improper Lay Opinion,
 5    debtors’ homestead exemption), and allow a §         Fed. R. Evid., 701
      724(b) sale even when a [trustee's costs] are
 6    the only priority claims that will potentially be    Legal Conclusion
      paid.”
 7                                                         Argument
      Declaration at page 26 – 27.
 8
      “Some courts do not see a problem with               Irrelevant, Fed. R.     Sustained _____
 9    combining carve outs and § 724(b) as it              Evid. 401, 402
      appears the Debtor’s believes the future                                     Overruled _____
10    Trustee's Motion to Sell Debtor’s home will          Lack of Personal
      attempt. E.g., Reeves, 2011 WL 841238, at *3         Knowledge, Fed. R.
11    (“The key point is lengthy commentary by             Evid, 602
      Debtor: is the Trustee’s attempt at a carve out
12    for the benefit of unsecured creditors really for    Improper Lay Opinion,
      the benefit of a hypothetical lien held by the       Fed. R. Evid., 701
13    IRS, [as stated this Debtor does not have any
      IRS liens] not from a creditor who would be          Legal Conclusion
14    subject to the debtor's exemption.” (citing In
      re World Health Alts., Inc., 344 B.R. 291, 297       Argument
15    (Bankr. D. Del. 2006))).”
16    Declaration at page 27.
17    “Other courts reach the opposite conclusions         Irrelevant, Fed. R.     Sustained _____
      in each of these situations. While carve outs        Evid. 401, 402
18    are frequently used in bankruptcy, they are not                              Overruled _____
      universally allowed to defeat debtors’               Lack of Personal
19    exemptions. See, e.g., In re Anderson, 603           Knowledge, Fed. R.
      B.R. 564, 570–71 (Bankr. W.D. Va. 2019)              Evid, 602
20    (refusing to allow carve out of sale proceeds
      of property owned tenancy by the entireties          Improper Lay Opinion,
21    for the benefit of individual unsecured              Fed. R. Evid., 701
      creditors); In re Wilson, 494 B.R. 502, 506
22    (Bankr. C.D. Cal. 2013) (“It does not matter         Legal Conclusion
      how funds are generated by the estate through
23    a Section 363 sale, including if derived from a      Argument
      ‘tip’ [a/k/a carve out] from Bank of America
24    or Wachovia so that they will not have to
      undertake a foreclosure proceeding under
25    California law.
      Funds derived from these sales are property of
26    the estate and are subject to valid
      exemptions.”).”
27
      Declaration at page 27.
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 1    “Some courts hold that distributions pursuant       Irrelevant, Fed. R.     Sustained _____
      to § 724(b) are subject to a debtor's               Evid. 401, 402
 2    exemptions. See, e.g., In re Selander, 592 B.R.                             Overruled _____
      729, 735 (Bankr. W.D. Wash. 2018) (“Though          Lack of Personal
 3    cloaked in a subordination agreement,               Knowledge, Fed. R.
      effectively the Trustee fails to explain an         Evid, 602
 4    attempt to do more than his claim of the
      ability to pull exempt property back into the       Improper Lay Opinion,
 5    estate and surcharge the exemption.”                Fed. R. Evid., 701
 6    Declaration at page 27.                             Legal Conclusion
 7                                                        Argument
 8    “The Debtor prays and respectfully requests         Irrelevant, Fed. R.     Sustained _____
      this Court agree this is not a result Congress      Evid. 401, 402
 9    intended with the enactment of § 724(b).”).                                 Overruled _____
      Although as pointed out above, some courts          Lack of Personal
10    raise questions about a trustee using § 724(b)      Knowledge, Fed. R.
      solely to pay his own fees and expenses. E.g.,      Evid, 602
11    Sheehan v. Posin, Ch. 7 Case No. 11-CV-160,
      2012 WL 1413020, at *5 n.1 (N.D. W. Va.             Improper Lay Opinion,
12    Apr. 23, 2012) (suggesting that the bankruptcy      Fed. R. Evid., 701
      court below could examine whether a sale that
13    only paid administrative costs was “an attempt      Legal Conclusion
      by the trustee to churn property worthless to
14    the estate just to increase fees” (quoting In re    Argument
      K.C. Mach. & Tool Co., 816 F.2d 238, 246
15    (6th Cir. 1987))); Oakland Cnty. Treasurer v.
      Allard (In re Kerton Indus.), 151 B.R. 101,
16    101–02 (E.D. Mich. 1991) (holding that a sale
      pursuant to § 724(b) that only resulted in the
17    payment of administrative expenses related to
      the sale did not benefit the bankruptcy estate);
18    see In re Fialkowski, 483 B.R. 590, 594
      (Bankr. W.D.N.Y. 2012)”
19
      Declaration at page 27 -28.
20
      ““The full scope of § 724(b) would best be          Irrelevant, Fed. R.     Sustained _____
21    understood in a case in which there are pre-        Evid. 401, 402
      petition priority unsecured claims that would                               Overruled _____
22    benefit from the administration of the              Lack of Personal
      collateral.”.”                                      Knowledge, Fed. R.
23                                                        Evid, 602
      Declaration at page 28.
24                                                        Improper Lay Opinion,
                                                          Fed. R. Evid., 701
25
                                                          Legal Conclusion
26
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 1    “In re Christensen, the case thoroughly             Irrelevant, Fed. R.     Sustained _____
      examines the relevant issues and rejects the        Evid. 401, 402
 2    combination of § 724(b) and a carve out.                                    Overruled _____
      While in the context of a Chapter 7 trustee's       Lack of Personal
 3    application for compensation, Christensen           Knowledge, Fed. R.
      involves two bankruptcy cases with liens that       Evid, 602
 4    exceed the value of the debtors’ properties,
      proposed carve outs of the IRS's liens,             Improper Lay Opinion,
 5    attempts to use § 724(b) to pay a trustee's fees    Fed. R. Evid., 701
      and costs, and no proposed distribution on the
 6    debtors’ exemptions. 561 B.R. at 197–98.”           Legal Conclusion
 7    Declaration at page 28.                             Argument
 8    “Relying on the Handbook for Chapter 7              Irrelevant, Fed. R.     Sustained _____
      Trustees prepared by the Office of the United       Evid. 401, 402
 9    States Trustee, the Christensen case concludes                              Overruled _____
      that the proposed sales were not mandatory          Lack of Personal
10    due to the lack of equity in the properties. Id.    Knowledge, Fed. R.
      at 203–05. Since the Bankruptcy Code did not        Evid, 602
11    require the trustee to sell the properties, the
      trustee needed to show a benefit to the             Improper Lay Opinion,
12    unsecured creditors of the debtors’ estates to      Fed. R. Evid., 701
      support his fee applications. Id. at 205–06.
13    The Trustee could not, largely because              Legal Conclusion
      Christensen concludes that the funds carved
14    out of the sale proceeds were subject to the        Argument
      debtors’ homestead exemptions. Id. at 210–
15    11”
16    Declaration at page 28.
17    “(“Carve-outs are not a means for secured           Irrelevant, Fed. R.     Sustained _____
      creditors to dictate payments to other              Evid. 401, 402
18    creditors. The Trustee and the IRS cannot,                                  Overruled _____
      simply by agreement, defeat junior lien             Lack of Personal
19    interests or the Debtors’ homestead                 Knowledge, Fed. R.
      exemptions, nor can a stipulation between the       Evid, 602
20    Trustee and the IRS bind the Court with
      respect to questions of law.” (footnote             Improper Lay Opinion,
21    omitted)).”                                         Fed. R. Evid., 701
22    Declaration at page 28.                             Legal Conclusion
23                                                        Argument
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 1    “The Utah court decided the trustee's                 Irrelevant, Fed. R.     Sustained _____
      agreement with the IRS was a sham that was            Evid. 401, 402
 2    not really intended to benefit the unsecured                                  Overruled _____
      creditors of the debtors but instead to allow         Lack of Personal
 3    the IRS to offer a “tip” to the trustee for           Knowledge, Fed. R.
      liquidating the debtors’ property, noting that        Evid, 602
 4    the IRS would also be a significant beneficiary
      of the distribution to the unsecured creditors.       Improper Lay Opinion,
 5    Id. at 212 (“[T]he provision that the tip [a/k/a      Fed. R. Evid., 701
      the carve out] will go to unsecured creditors
 6    allows the trustee to come before the court           Legal Conclusion
      armed with the argument that in administering
 7    this asset, he is fulfilling his statutory duty by    Argument
      benefitting unsecured creditors, thereby
 8    insulating the arrangement from scrutiny.”
 9    Declaration at page 29.
10    “This argument is facile and belies the true          Irrelevant, Fed. R.     Sustained _____
      nature and purpose of the transaction.”). See         Evid. 401, 402
11    Christensen, 561 B.R. at 214. Christensen also                                Overruled _____
      notes that the arrangement between the IRS            Lack of Personal
12    and the trustee would allow the IRS to obtain         Knowledge, Fed. R.
      a result it could not outside of bankruptcy, as       Evid, 602
13    26 U.S.C. § 6334(a)(13)(B) “specifically
      exempts a taxpayer's principal residence from         Improper Lay Opinion,
14    levy.” Id. at 205 n.40. Section 724(b) does not       Fed. R. Evid., 701
      provide any additional support for the
15    proposal “because properly exempted property          Legal Conclusion
      is not subject to the provisions of § 724.” Id.
16    at 213.”                                              Argument
17    Declaration at page 29.
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 1    “See Christensen, 561 B.R. at 214.                  Irrelevant, Fed. R.     Sustained _____
      Christensen forcefully and persuasively rejects     Evid. 401, 402
 2    a trustee's sale that combines a carve out and §                            Overruled _____
      724(b). In addition, Christensen is one of the      Lack of Personal
 3    few cases discussed in it’s order that even         Knowledge, Fed. R.
      mentions the impact of the Supreme Court's          Evid, 602
 4    holding in Law v. Siegel, 571 U.S. 415
      (2014), on the issues at play, and, in its Bird     Improper Lay Opinion,
 5    opinion affirming Christensen, the Bankruptcy       Fed. R. Evid., 701
      Appellate Panel for the Tenth Circuit provides
 6    the most thorough examination of Law in this        Legal Conclusion
      context.
 7    In the course of holding that bankruptcy courts     Argument
      cannot surcharge a debtor's exemption for bad
 8    faith conduct, Law notes that subsection (k) of
      the Bankruptcy Code's exemption statute says
 9    exempted property is “not liable for payment
      of any administrative expense.” Id. at 420–22
10    (quoting § 522(k)).”
11    Declaration at page 29.
12    “There are “two narrow exceptions” to that          Irrelevant, Fed. R.     Sustained _____
      “general rule,” but both of the statutory           Evid. 401, 402
13    exceptions relate to the costs of avoiding a                                Overruled _____
      transfer and were not at issue in Law. Id. at       Lack of Personal
14    422 n.2.”                                           Knowledge, Fed. R.
                                                          Evid, 602
15    Declaration at page 29.
                                                          Improper Lay Opinion,
16                                                        Fed. R. Evid., 701
17                                                        Legal Conclusion
18                                                        Argument
19    “The Court then recalls its previous                Irrelevant, Fed. R.     Sustained _____
      observation that § 522 balances “the difficult      Evid. 401, 402
20    choices that exemption limits impose on                                     Overruled _____
      debtors with the economic harm that                 Lack of Personal
21    exemptions visit on creditors,” id. at 426–27       Knowledge, Fed. R.
      (quoting Schwab v. Reilly, 560 U.S. 770, 791        Evid, 602
22    (2010)), and adds that “[t]he same can be said
      of the limits imposed on recovery of                Improper Lay Opinion,
23    administrative expenses by trustees,” id. at        Fed. R. Evid., 701
      427.”
24                                                        Legal Conclusion
      Declaration at page 29 – 30.
25                                                        Argument
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 1    “While the factual situation here concerning       Irrelevant, Fed. R.     Sustained _____
      Debtor jas not yet reached this analysis,          Evid. 401, 402
 2    Debtor believes it is important and                                        Overruled _____
      distinguishable from the one before the Court      Improper Lay Opinion,
 3    in Law, “it would nonetheless have the same        Fed. R. Evid., 701
      effect—to deprive [the Debtor] of [her]
 4    homestead exemption [ ] on a basis other than      Legal Conclusion
      one enumerated in the Code.” Bird, 577 B.R.
 5    at 386. Law holds that a debtor cannot be          Argument
      deprived of a homestead exemption to pay
 6    administrative expenses even when a
      bankruptcy court found that a trustee had to
 7    incur over $500,000 in attorney's fees due to
      the debtor's fraud. Law, 571 U.S. at 420.”
 8
      Declaration at page 30.
 9
      “As in Bird/Christensen, the Trustee's current     Irrelevant, Fed. R.     Sustained _____
10    Application before this court and potential        Evid. 401, 402
      subsequent Motion to Sell, is not based on any                             Overruled _____
11    allegation of misbehavior by the Debtor. See       Lack of Personal
      Bird, 577 B.R. at 386 (“Debtors in these cases     Knowledge, Fed. R.
12    do not stand accused of any fraudulent or          Evid, 602
      contemptuous behavior.”). Law does allow
13    that state law could provide for the               Improper Lay Opinion,
      disallowance of an exemption created by the        Fed. R. Evid., 701
14    state, 571 U.S. at 425 (citing In re Sholdan,
      217 F.3d 1006, 1008 (8th Cir. 2000);               Legal Conclusion
15    COLLIER ¶ 522.08[1]–[2]). Trustee did not
      assert any state law basis for ignoring the        Argument
16    Debtor's homestead exemption other than the
      Trustee’s Joinder DOC 128, which
17    hypothetically, did not believe was necessary
      to allow his subsequent proposed modified
18    distributions pursuant to § 724(b), in a Motion
      to Sell.”
19
      Declaration at page 30.
20
      “Given the lack of an explicit statutory basis     Irrelevant, Fed. R.     Sustained _____
21    facing the Trustee subsequent Motion to Sell,      Evid. 401, 402
      and potential payment of administrative                                    Overruled _____
22    expenses pursuant to § 724(b), not being           Lack of Personal
      subject to a debtor's exemptions seems             Knowledge, Fed. R.
23    questionable at best after Law. See                Evid, 602
      Christensen, 561 B.R. at 214 (“[I]t is
24    inconsistent with § 522(k) if exempted             Improper Lay Opinion,
      property is subject to distribution under §        Fed. R. Evid., 701
25    724(b) and used to pay administrative
      expenses.”).”                                      Legal Conclusion
26
      Declaration at page 30.                            Argument
27

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 1    “Finally, the Debtor asks this Court to             Irrelevant, Fed. R.     Sustained _____
      consider the Trustee's Application to hire a        Evid. 401, 402
 2    Broker proposal and contract attached to the                                Overruled _____
      Motion, in light of the Debtors pending             Lack of Personal
 3    Motion forReconsideration overruling                Knowledge, Fed. R.
      Interested Party Houser Bros MOT Obejcting          Evid, 602
 4    to Debtors Homeostead Exemption in a home
      she purchased and resides in since November         Improper Lay Opinion,
 5    2018, one of the primary purposes of                Fed. R. Evid., 701
      bankruptcy: the offer of a fresh start to the
 6    Debtor. See Cent. Va. Cmty. Coll. v. Katz,          Legal Conclusion
      546 U.S. 356, 363–64 (2006) (“Critical
 7    features of every bankruptcy proceeding are         Argument
      the exercise of exclusive jurisdiction over all
 8    of the debtor's property, the equitable
      distribution of that property among the
 9    debtor's creditors, and the ultimate discharge
      that gives the debtor a ‘fresh start’ by
10    releasing him, her, or it from further liability
      for old debts.” (citing Loc. Loan Co. v. Hunt,
11    292 U.S. 234, 244 (1934))); Hunt, 292 U.S. at
      244 (“One of the primary purposes of the
12    Bankruptcy Act is to ‘relieve the honest debtor
      from the weight of oppressive indebtedness,
13    and permit him to start afresh free from the
      obligations and responsibilities consequent
14    upon business misfortunes.’ ” (quoting
      Williams v. U.S. Fid. & Guar. Co., 236 U.S.
15    549, 554–55 (1915))).”
16    Declaration at page 30 – 31.
17    “Rhe Trustee's Motion, fails to discuss “any        Irrelevant, Fed. R.     Sustained _____
      negative impact on the Debtor from the sale of      Evid. 401, 402
18    her home or how this Application and                                        Overruled _____
      subsequent MOT to Sell, assists the Debtor          Argument
19    with her “fresh start.””
20    Declaration at page 31.
21    “Moreover, the Debtor respectfully wishes to        Irrelevant, Fed. R.     Sustained _____
      inform this Court that the Debtors attempts to      Evid. 401, 402
22    sell her home since 2019, Houser Bros Co                                    Overruled _____
      holding debtor “hostage” under an                   Argument
23    unprosecuted 1/2/2019, Unlawful Detainer
      Case filed by Houser Bros Co against a              Speculative
24    11/1/2018, bona fide purchaser for value of a
      2014 Manufactured Home, would have
25    received an even better version of the
      Trustee's potential picture of a “type of fresh
26    start” if Debtor had been allowed to sell her
      home on her own without filing bankruptcy.”
27
      Declaration at page 31.
28

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 1    “If the court approves any version of Trustee's     Irrelevant, Fed. R.     Sustained _____
      Application and subsequent Motion To Sell,          Evid. 401, 402
 2    before the Honorable Erithe A. Smith is                                     Overruled _____
      permitted to consider debtors Motion for            Lack of Foundation
 3    Reconsideration on September 22, 2022, DOC
      157, the Debtor at least 60 years old, would        Argument
 4    begin her “fresh start” in need of a new home
      while still subject to significant liens.”
 5
      Declaration at page 31.
 6
      “Debtor believes the burden of a Trustee's          Irrelevant, Fed. R.     Sustained _____
 7    724(b) disguised proposal would actually be         Evid. 401, 402
      shifted to the Debtor, see Christensen, 561                                 Overruled _____
 8    B.R. at 214 (“[D]ebtors may be burdened with        Improper Lay Opinion,
      tax debt that could have been satisfied from        Fed. R. Evid., 701
 9    the property—in effect, they could also be
      saddled with the administrative expenses of         Legal Conclusion
10    this case.”). SEE Trustee’s May 12, 2022,
      Motion to Employ Danning, Gill, Israel, &           Argument
11    Krasnoff, LLP, Nunc Pro Tunc to January 27,
      2022, DOC 92, after Debtor sent Trustee a
12    Text Message in February 2022, inquiring
      why the Trustee has not submitted an
13    Application to the Bankruptcy Court to
      employ General Counsel for a Chapter 7
14    Trustee and Bankruptcy Attorney for almost
      30 years.”
15
      Declaration at page 31 – 32.
16
      “Despite the Trustee's insistence to the            Irrelevant, Fed. R.     Sustained _____
17    contrary, the Debtor does not see this              Evid. 401, 402
      Application to Employ a Broker to sell                                      Overruled _____
18    debtor’s personal residence since 2018              Improper Lay Opinion,
      supporting the Debtor's fresh start.”               Fed. R. Evid., 701
19
      Declaration at page 32.                             Legal Conclusion
20
                                                          Argument
21
      “Debtor suggest here, a hypothetical Trustee's      Irrelevant, Fed. R.     Sustained _____
22    proposal that potentially could arise her,          Evid. 401, 402
      would not benefit the Debtor's estate and                                   Overruled _____
23    would violate the principle that trustees should    Improper Lay Opinion,
      not administer property solely for the benefit      Fed. R. Evid., 701
24    of themselves.”
                                                          Legal Conclusion
25    Declaration at page 32.
                                                          Argument
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 1    “Any potential carve outs and novel                Irrelevant, Fed. R.     Sustained _____
      distribution scheme solve the benefit to the       Evid. 401, 402
 2    estate problem, but the proposal only works if                             Overruled _____
      the court ignores the September 22, 2022,          Improper Lay Opinion,
 3    Debtor's Motion for Reconsideration DOC            Fed. R. Evid., 701
      157, sustaining interested parties objection to
 4    debtors homestead exemption (for reasons that      Legal Conclusion
      the Trustee did not explain in his joinder).
 5    DOC 128.”                                          Argument
 6    Declaration at page 32.
 7    “Given the strong protection of exemptions in      Irrelevant, Fed. R.     Sustained _____
      California, particularly the homestead             Evid. 401, 402
 8    exemption, and the Supreme Court's                                         Overruled _____
      instruction about the limited reasons for          Lack of Personal
 9    paying administrative expenses with exempt         Knowledge, Fed. R.
      property, which are not present in this case,      Evid, 602
10    the court believes the Debtor's exemptions
      deserve more respect than the Trustee              Improper Lay Opinion,
11    premature Application to Employ a Broker           Fed. R. Evid., 701
      provides.”
12                                                       Legal Conclusion
      Declaration at page 32.
13                                                       Argument
14    “In addition, Congress created a precise           Irrelevant, Fed. R.     Sustained _____
      scheme for distributions pursuant to § 724(b)      Evid. 401, 402
15    that differs from the normal priorities applied                            Overruled _____
      in almost all bankruptcy cases, and it is not      Lack of Personal
16    appropriate for the Trustee to create a new        Knowledge, Fed. R.
      version of that distribution scheme by             Evid, 602
17    agreement of certain creditors or otherwise.”
                                                         Improper Lay Opinion,
18    Declaration at page 32.                            Fed. R. Evid., 701
19                                                       Legal Conclusion
20                                                       Argument
21    “Adding general unsecured creditors to the §       Irrelevant, Fed. R.     Sustained _____
      724(b) distribution scheme would be a              Evid. 401, 402
22    significant rewrite of the statutory language.”                            Overruled _____
                                                         Lack of Personal
23    Declaration at page 33.                            Knowledge, Fed. R.
                                                         Evid, 602
24
                                                         Improper Lay Opinion,
25                                                       Fed. R. Evid., 701
26                                                       Legal Conclusion
27                                                       Argument
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 1    “If the debtors objection to this Application is Irrelevant, Fed. R.     Sustained _____
      viewed as an adjunct of the potential Motion     Evid. 401, 402
 2    to Sell and the Trustee's overall subsequent                             Overruled _____
      proposal, the respectfully asks this Court to    Argument
 3    broadly consider this IN PRO PER and the
      reasons discussed above.
 4    The Trustee filed the the Joinder separately
      from (and prior to) this Motion, and even
 5    though the Trustee’s Joinder DOC 128,
      appeared noncontroversial on its face, this
 6    debtor respectfully asks this Court to allow
      Debtors Motion for Reconsideration Hearing
 7    set on September 22, 2022, DOC 200, to be
      considered by the Honorable Erithe A. Smith.”
 8
      Declaration at page 33.
 9
      “Several courts have considered and overruled    Irrelevant, Fed. R.     Sustained _____
10    similar objections. See Fontana, 2015 Bankr.     Evid. 401, 402
      LEXIS 3771, at *3–4 (citing In re Ruppel, 368                            Overruled _____
11    B.R. 42, 44 (Bankr. D. Or. 2007); In re          Lack of Personal
      Quezada, 368 B.R. 44, 47 (Bankr. S.D. Fla.       Knowledge, Fed. R.
12    2007); In re Vandeventer, 368 B.R. 50, 54        Evid, 602
      (Bankr. C.D. Ill. 2007)).”
13                                                     Improper Lay Opinion,
      Declaration at page 33.                          Fed. R. Evid., 701
14
                                                       Legal Conclusion
15
                                                       Argument
16
      “These cases make a distinction between an       Irrelevant, Fed. R.     Sustained _____
17    exemption not applying to certain types of       Evid. 401, 402
      claims or creditors, on the one hand, and                                Overruled _____
18    disallowing the exemption altogether, on the     Lack of Personal
      other. Id. (citations omitted); see also         Knowledge, Fed. R.
19    Christensen, 561 B.R. at 213 (noting that        Evid, 602
      property remaining liable for certain claims
20    does not mean that an exemption is disallowed    Improper Lay Opinion,
      (citing In re Covington, 368 B.R. 38, 40         Fed. R. Evid., 701
21    (Bankr. E.D. Cal. 2006))).”
                                                       Legal Conclusion
22    Declaration at page 33.
                                                       Argument
23
      “Since the property in question in Debtors       Irrelevant, Fed. R.     Sustained _____
24    Motion for Reconsideration DOC 157, may          Evid. 401, 402
      still be exempt (except as to certain                                    Overruled _____
25    claims/creditors), the Court should deny         Legal Conclusion
      Trustee’s Application to Employ a Broker as
26    premature and any attempts to begin to           Argument
      administer it.”
27
      Declaration at page 33.
28

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 1    “Ruppel, Quezada, Vandeventer, and                  Irrelevant, Fed. R.       Sustained _____
      Covington all examine changes to § 522              Evid. 401, 402
 2    pursuant to the Bankruptcy Abuse Prevention                                   Overruled _____
      and Consumer Protection Act (“BAPCPA”),             Argument
 3    Trustee did not provide a state-specific reason
      to deny the Debtor's exemption in his Joinder
 4    DOC 128.”
 5    Declaration at page 33.
 6

 7

 8 DATED: September 6, 2022                     DANNING, GILL, ISRAEL & KRASNOFF, LLP
 9

10
                                                By:            /s/ Aaron E. de Leest
11                                                      AARON E. DE LEEST
                                                        Attorneys for Jeffrey I. Golden,
12                                                      Chapter 7 Trustee
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): EVIDENTIARY OBJECTIONS TO
DECLARATION OF JAMIE LYNN GALLIAN IN SUPPORT OF OPPOSITION TO APPLICATION OF THE CHAPTER 7
TRUSTEE TO EMPLOY REAL ESTATE BROKER COLDWELL BANKER REALTY AND AGENTS WILLIAM
FRIEDMAN AND GREG BINGHAM PURSUANT TO 11 U.S.C. §§ 327 AND 328 will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On September 6, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On September 6, 2022 , I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct
copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
the document is filed.


                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on September 6, 2022, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented
in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes
a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  September 6, 2022                       Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


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Valerie Smith on behalf of Interested Party Courtesy NEF claims@recoverycorp.com

United States Trustee (SA)           ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY OVERNIGHT MAIL
Debtor, in pro per                            The Honorable Scott C. Clarkson
Jamie Lynn Gallian                            U.S. Bankruptcy Court
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Huntington Beach, CA 92649                    Santa Ana, CA 92701




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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
